 Case: 2:02-cr-00035-JLG-EPD Doc #: 68 Filed: 05/23/05 Page: 1 of 4 PAGEID #: 71




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


DARRIN WALKER,                                         CASE NO. 2:05-cv-449
                                                       CRIM. NO. 2:02-cr-035
               Petitioner,

       v.                                              JUDGE GRAHAM
                                                       MAGISTRATE JUDGE ABEL

UNITED STATES OF AMERICA,

               Respondent.




                                        ORDER and
                               REPORT AND RECOMMENDATION

       Petitioner has filed a motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.

§2255. This matter is before the Court on its own motion to consider the sufficiency of the petition

under Rule 4(b) of the Rules Governing Section 2255 Proceedings. For the reasons that follow, the

Magistrate Judge RECOMMENDS that petitioner’s claims C, D, and E be DISMISSED.

       Respondent shall file its answer to petitioner’s claims A and B pursuant to Rule 5(a) of the

Rules Governing Section 2255 Proceedings in the United States District Courts within twenty (20)

days of the date of this order. Petitioner may reply within fifteen (15) days thereafter.

                         I. FACTS AND PROCEDURAL HISTORY

       On March 14, 2002, petitioner was charged with attempt to possess with intent to distribute

more than five hundred grams of cocaine, and possession with attempt to distribute more than fifty

grams of cocaine base, in violation of 21 U.S.C. §846, §841(a)(1), (b)(1)(B)(ii), (b)(1)(A)(ii). Doc.

#7. While represented by counsel petitioner proceeded to jury trial, and on September 26, 2002, was

found guilty as charged. Doc. #38. On January 24, 2003, petitioner was sentenced to an aggregate
 Case: 2:02-cr-00035-JLG-EPD Doc #: 68 Filed: 05/23/05 Page: 2 of 4 PAGEID #: 72




term of 360 months incarceration plus five years supervised release. Doc. #46. Petitioner filed a

timely appeal of his convictions and sentence. He asserted the following claims:

               1. [W]hether the district court properly denied Walker’s motion to
               suppress evidence obtained during an allegedly illegal search of his
               home; 2. Whether any reversible error occurred during Walker’s trial
               and whether the jury’s verdict was supported by the evidence; and 3.
               Whether the district court properly sentenced Walker.

See United States v. Walker, No. 03-3233 (6th Cir. Feb. 5, 2004), Doc. #61. On February 5, 2004,

the United States Court of Appeals for the Sixth Circuit affirmed the judgment of this Court. Id.

On March 2, 2004, the mandate issued. Doc. #62.

       On May 9, 2005, petitioner filed the instant pro se motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. §2255. He asserts the following claims:

               A. Whether petitioner’s Sixth Amendment right to confrontation was
               violated when the United States willfully caused Perry Jemison to be
               unavailable for trial and Agent Carroll testified to statements made
               against petitioner?

               B. Was trial counsel ineffective when his cross-examination of
               Agent Carroll violated petitioner’s Sixth Amendment right to
               confrontation by eliciting damaging evidence against petitioner?

               C. Whether Section 4B1.1 of the United States Sentencing
               Guidelines unconstitutional when [sic] petitioner’s sentence [was]
               enhanced based on uncharged facts that were neither found by a jury
               beyond a reasonable doubt nor admitted by petitioner?

               D. Whether the calculation of petitioner’s criminal history category
               unconstitutional when [sic] petitioner’s sentence [was] increased
               based on uncharged fats that were neither found by a jury beyond a
               reasonable doubt nor admitted by the petitioner?

               E. Whether the application that governs In re Winship decision
               applied in Blakely and Booker inapplicable [sic] under Teague’s non-
               retroactivity rule?

       In claims C, D, and E, petitioner asserts that he was improperly sentenced. This claim was

                                                 2
 Case: 2:02-cr-00035-JLG-EPD Doc #: 68 Filed: 05/23/05 Page: 3 of 4 PAGEID #: 73




already considered, and rejected, on direct appeal:

               We... conclude that the district court properly sentenced Walker. The
               court properly determined that Walker was a career offender because
               he was at least eighteen years old at the time of the instant offense,
               the instant offense is a felony that involves a controlled substance,
               and Walker has at least two prior felony convictions for controlled
               substance offenses. See USSG §4B1.1; United States v. Harris, 165
               F.3d 1062, 1067 (6th Cir. 1999). The court also properly determined
               Walker’s guidelines sentencing range. Walker’s total offense level
               was 37, his Criminal History Category score was VI, and the
               resulting guideline range was 360 months to life. Thus, his sentence
               of 360 months was within the applicable guidelines range.

               The district court’s decision not to grant a downward departure is not
               reviewable because the district court was aware of its authority to
               depart downward, see United States v. Henderson, 209 F.3d 614,
               617-18 (6th Cir. 2000), but concluded that the circumstances of this
               case did not warrant a departure.

United States v. Walker, supra, Doc. #61. This Court therefore will not again consider such

allegations here. See Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999), citing Oliver v.

United States, 90 F.3d 177, 180 (6th Cir. 1996), and Davis v. United States, 417 U.S. 333, 345 (6th

Cir. 1974). Further, to the extent that petitioner asserts that his sentence violates the United States

Supreme Court’s recent decisions in United States v. Booker, 125 S.Ct. 738 (2005), and Blakely v.

Washington, 124 S.Ct. 2531 (2004), Booker and Blakely are not retroactively applicable to cases on

collateral review, and thus do not provide petitioner the relief he seeks. Humphress v. United States,

398 F.3d 855, 860 (6th Cir. 2005).

       In view of the foregoing, the Magistrate Judge RECOMMENDS that claims C, D, and E,

be DISMISSED.

       Respondent shall file its answer to petitioner’s claims A and B pursuant to Rule 5(a) of the

Rules Governing Section 2255 Proceedings in the United States District Courts within twenty (20)


                                                  3
 Case: 2:02-cr-00035-JLG-EPD Doc #: 68 Filed: 05/23/05 Page: 4 of 4 PAGEID #: 74




days of the date of this order. Petitioner may reply within fifteen (15) days thereafter.

       If any party objects to this Report and Recommendation, that party may, within ten (10) days

of the date of this report, file and serve on all parties written objections to those specific proposed

findings or recommendations to which objection is made, together with supporting authority for the

objection(s). A judge of this Court shall make a de novo determination of those portions of the

report or specified proposed findings or recommendations to which objection is made. Upon proper

objections, a judge of this Court may accept, reject, or modify, in whole or in part, the findings or

recommendations made herein, may receive further evidence or may recommit this matter to the

magistrate judge with instructions. 28 U.S.C. §636(b)(1).

       The parties are specifically advised that failure to object to the Report and Recommendation

will result in a waiver of the right to have the district judge review the Report and Recommendation

de novo, and also operates as a waiver of the right to appeal the decision of the District Court

adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); United States

v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                       s/Mark R. Abel
                                                       United States Magistrate Judge




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